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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:19−cr−00226
                                                         Honorable Virginia M. Kendall
Robert M. Kowalski, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 23, 2021:


        MINUTE entry before the Honorable Virginia M. Kendall as to Robert M.
Kowalski. Defendant Robert Kowalski has filed three separate motions for a speedy trial
[169], [177] and [180]. All of the motions seeking a speedy trial have been filed while
Kowalski continues to file dozens of Pretrial Motions. The Court has previously ruled on a
number of Pretrial Motions and the number currently stands at 47 pending Pretrial
Motions filed by Kowalksi alone. His request for a speedy trial, however, are also always
expressed at the same time that he is seeking more Discovery and demanding that the
Discovery be provided to him to prepare for trial. In spite of his requests for a speedy trial,
Kowalski has told the Court that he is not ready for trial, that he needs to go through the
massive amounts of Discovery, and that he needs more Discovery. These actions conflict
with his speedy trial requests. Regardless, due to his own filings, time is excluded under
the Speedy Trial Act while those motions are being considered and ruled on. 18 U.S.C.
§3161(h)(1)(D). Time resulting from the filing of a Pretrial Motion falls within the
exceptions to the Speedy Trial Act regardless if it actually causes or is expected to cause
delay. United States v. Tinklenberg, 563 U.S. 647 (2011). Motions for a speedy trial [169]
[177] [180]are denied without prejudice while the motions are being filed, reviewed, and
ruled on. Mailed notice (lk, )




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